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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)



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 In Re:                                               Case No.:    21-30589 (MBK)

 LTL MANAGEMENT LLC,                                  Judge:       Michael B. Kaplan

                      Debtor                          Chapter 11


         MODIFIED LOCAL FORM CERTIFICATION OF NO OBJECTION
    REGARDING MONTHLY FEE STATEMENT OF TRAURIG LAW LLC, FOR THE
      PERIOD OF JUNE 1, 2022 THROUGH JUNE 30, 2022 (DOCUMENT NO. 2756)

          The Court authorized, under D.N.J. LBR 2016-3(a), the Order Establishing Procedures for

 Interim Compensation and Reimbursement of Retained Professionals [Dkt. No. 761] and Order

 Modifying Order Establishing Procedures for Interim Compensation and Reimbursement of
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 Retained Professionals [Dkt. No. 870] (Dkt. Nos. 761 and 870 together, the “Interim

 Compensation Procedures Order”), compensation to professionals on a monthly basis. Under the

 Interim Compensation Procedures Order, objections to the monthly fee statement of Traurig Law

 LLC, for the period of June 1, 2022 through June 30, 2022 (the “Monthly Fee Statement”) filed

 on July 21, 2022 [Dkt. No. 2756], were to be filed and served not later than August 4, 2022.

         I, Jeffrey Traurig, Esq. certify that, as of August 5, 2022, I have reviewed the court’s docket

 in this case and no answer, objection, or other responsive pleading to the above Monthly Fee

 Statement has been filed. Pursuant to D.N.J. LBR 2016-3, payment shall be made to the applicant

 upon the filing of this Certification.



 Date: August 5, 2022                                   /s/ Jeffrey Traurig
                                                        Jeffrey Traurig




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